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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


        v.                                                    Case No. 18-cr-00028 (EGS)

 JARRELL HARRIS,


                Defendant.


                     THE DISTRICT OF COLUMBIA’S RESPONSE
                   TO THE COURT’S APRIL 25, 2018 MINUTE ORDER

       The District of Columbia Department of Corrections (DOC) responds to the Court’s April

25, 2018 Minute Order, which directed DOC “to explain in writing the circumstances surrounding

the release of Mr. Harris” on April 24, 2018. This response provides background regarding the

events that led to the erroneous release, identifies the DOC errors that caused the release, and

provides information on remedial action DOC is taking to prevent future occurrences and ensure

appropriate releases.

                                       BACKGROUND

       Jarrell Harris is a federal inmate placed in DOC custody by the United States Marshals

Service (USMS) on January 12, 2018, in United States v. Harris, Case No. 2018 CF2 000676

(unlawful possession of a firearm with a prior conviction).

       On March 26, 2018, DOC received a “Prisoner Remand or Order to Deliver” from USMS,

remanding four inmates to DOC’s custody, including Mr. Harris. DOC staff failed to enter this

new USMS hold into the appropriate records database, and it was therefore not properly recorded.
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       On April 24, 2018, Mr. Harris was released by DOC staff based on a Federal Bureau of

Prisons (FBOP) sentence calculation and authorization in a separate matter, United States v.

Harris, Case No. 2015 CF1 006671 (assault with a dangerous weapon), without first obtaining

USMS authorization for the release. On that day, Mr. Harris was erroneously released to

Metropolitan Police Department (MPD) custody because of a detainer and warrant issued by the

Prince George’s County Sheriff’s Office in a third criminal matter involving an assault and robbery

in the State of Maryland. Mr. Harris was transported to the Superior Court of the District of

Columbia, for the Court to open a fugitive case on that detainer, and returned to the Central

Detention Facility (D.C. Jail) to remain in DOC custody pending pick-up by Prince George’s

County. Upon Mr. Harris’s return to D.C. Jail, DOC staff discovered that USMS authorization was

required for Mr. Harris’s release because of the Prisoner Remand or Order to Deliver received

from USMS on March 26, 2018.

                    ERRORS THAT LED TO MR. HARRIS’S RELEASE

       DOC determined that the following actions were in violation of DOC’s policies and

procedures relating to detentions and releases, and contributed to Mr. Harris’s erroneous release:

       1.       DOC staff twice failed to obtain authorization for release from USMS (pursuant to

the Form USM-41 of January 12, 2018):

                   DOC should have obtained USMS authorization for Mr. Harris’s release on
                    February 2, 2018, when, consistent with FBOP sentence calculations in an older
                    case, Case No. 2015 CF1 006671 (assault with a dangerous weapon), DOC
                    notified MPD that Mr. Harris was scheduled for release on March 19, 2018;1
                    and

                   DOC should have obtained USMS authorization for Mr. Harris’s release on
                    April 24, 2018, when it released Mr. Harris to MPD to allow for the opening of

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         Subsequently, on March 15, 2018, DOC received updated sentence calculations from
FBOP showing a release date for Mr. Harris of April 24, 2018. As a result, the March 19, 2018
release date was not processed.
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                    a fugitive case in D.C. Superior Court that would, in turn, result in Mr. Harris’s
                    pick-up by Maryland law enforcement.

       2.       DOC staff did not properly record the March 26, 2018 “Prisoner Remand or Order

to Deliver” submitted by USMS. This contributed to the subsequent failure to obtain USMS

authorization on Mr. Harris’s release.

       3.       DOC should have notified USMS of the discrepancy when Mr. Harris was not listed

on the weekly USMS rosters that it provided to DOC for the period from March 27 to April 24,

2018. DOC failed to inquire about this discrepancy, and such follow-up would likely have led to

the discovery of the March 26, 2018 USMS hold that had not been properly recorded.

                                      REMEDIAL ACTION

       The release of Mr. Harris was not consistent with DOC’s policies and procedures, and DOC

took immediate remedial action to ensure that detentions and releases are conducted properly.

DOC has:

            Taken disciplinary action against the Records Office supervisor responsible for the
             error;

            Provided immediate training to all Records Office staff regarding the correct
             procedures to prevent future erroneous releases;

            Clarified procedures and paperwork with USMS regarding FBOP inmate holds;

            Received intensive retraining from a U.S. Marshal at the Records Office on May 3,
             2018, for all Records Office staff; and

            Begun planning for the hiring of additional Records Office staff and an independent
             consultant to study and provide recommendations on improving Records Office
             operations and procedures.

       DOC will continue to work closely with USMS to avoid possible errors in the future.

Dated: May 8, 2018.                            Respectfully submitted,

                                               KARL A. RACINE
                                               Attorney General for the District of Columbia

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